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VIA ECF                                                                  :1 !:-QCUMENT
The Honorable Judge Colleen McMahon
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Chief United States District Judge
Southern District of New York
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New York, New York 10007

             Re: United States v. Craig Carton and Michael Wright, 17 Cr. 680 (CM)

                      LETTER MOTION FOR BAIL MODIFICATION

Dear Judge McMahon:

        This law firm represents the Defendant Craig Carton in the above-referenced matter. We
respectfully submit this application to modify the conditions of Mr. Carton's bail, which were
originally set by the Honorable Magistrate Judge Andrew J. Peck at Mr. Carton's initial
appearance on or about September 6, 2017. (ECF 5, 6; see also Exhibit A attached hereto
(Appearance Bond, Order Setting Conditions of Release and Bail Disposition).) Specifically, we
request that the current condition on Mr. Carton's travel be amended to restrict travel to the
continental United States for the reasons described herein, including part and parcel with his
employment interview process. Neither the Government nor Pretrial Services objects to this
request.

                                         FACTUAL BACKGROUND

        On or about September 6, 2017, Mr. Carton was released on his own recognizance
pursuant to a secured personal appearance bond. (ECF 5, 6; see also Exhibit A.) The conditions
of release imposed at that time restrict Mr. Carton's travel to the Southern and Eastern Districts
of New York, the District of New Jersey, and the Eastern District of Pennsylvania. (Id.) Mr.
Carton has fully complied with this and all other conditions of his release. 1 Moreover, he has
consistently attended proceedings before the Court as required, and, by and through counsel, has




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        actively participated in his defense of this matter. Mr. Carton is now undertaking employment
        search, which requires unrestricted travel. More particularly, even though Mr. Carton would be
        employed in the New York area, the nature of certain employment prospects requires travel to
        corporate offices across and throughout the continental United States on short notice.
        Accordingly, and in light of the applicable legal standard for bail modification in the Second
        Circuit, discussed below, Mr. Carton respectfully submits this application to amend his
        conditions of release to restrict travel to the continental United States.

                                                                                      ARGUMENT

                   I.            The Applicable Legal Standard

                 Pursuant to I 8 U .S.C. § 3 I 42(c )( I )(B), the Court is required to impose the "least
        restrictive [] condition, or combination of conditions, that. .. will reasonably assure the
        appearance of [Mr. Carton] as required and the safety of any other person and the community."
        I 8 U.S.C. § 3142(c)(l)(B) (emphasis supplied). In making this determination, factors to be
        considered include: "(I) the nature and circumstances of the offense charged, including whether
        the offense is a crime of violence"; "(2) the weight of evidence against the person"; "(3) the
        history and characteristics of the person"; and "( 4) the nature and seriousness of the danger to
        any person or the community that would be posed by the person's release." I 8 U.S.C. §
        3 I 42(g)( 1)-( 4).

                Additionally, under the Eighth Amendment of the United States Constitution, the
        conditions of release imposed cannot be excessive in relation to the interest they seek to protect.
        E.g., United States v. Arzberger, 592 F. Supp. 2d 590, 606 (S.D.N.Y. 2008) (citing United States
        v. Salerno, 481 U.S. 739, 754 (1987)).

                The Court is authorized to "at any time amend the order to impose additional or different
        conditions of release" (18 U.S.C. § 3142(c)(3) (emphasis supplied)) and need not determine
        whether the initial order setting release conditions was erroneous or contrary to law ( United
        States v. Zuccaro, 645 F.2d l 04, I 06 (2d ~ir. 1981 ), cert. denied 454 U.S. 823 ( 1981 )).

                   II.           The Restriction On Mr. Carton's Travel Should Be Modified

               The question before the Court is whether limiting Mr. Carton's travel to the Southern and
        Eastern Districts of New York, the District of New Jersey, and the Eastern District of
        Pennsylvania is the least restrictive condition to reasonably assure his appearance as required and
        the safety of any other person and the community. Upon consideration of the facts here, we
        submit that the current restriction is greater than necessary.

               First, as previously stated, the Government and Pretrial Services do not object to the
        instant request to restrict Mr. Carton's travel to the continental United States. This alone is
        strong indication that the current restriction is unnecessary to assure Mr. Carton's continued
        appearance in this case and public safety.




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           Second, Mr. Carton's conduct to date leaves no question that he is able, and fully intends,
   to continue reliably participating in this case. Mr. Carton has complied with all conditions of his
   release; he has attended all required Court appearances; he has retained undersigned counsel in
   his defense; and, by and through counsel, he has made submissions to the Court in furtherance of
   his defense. In short, Mr. Carton has treated, and will continue to treat, this proceeding with the
   utmost seriousness.

           Finally, neither the charges against Mr. Carton nor the underlying facts alleged in the
    indictment raise any spectre of violence. Mr. Carton poses no risk to the safety of any person or
    the community.

                                                                CONCLUSION

           On the facts here, we respectfully submit that the current travel restriction is greater than
   necessary and unduly burdens Mr. Carton's freedom of movement under the circumstances,
   especially in relation to his employment efforts. We submit that this application is supported by
   18 U .S.C. § 3142. On this basis, Mr. Carton respectfully requests that the conditions of his
   release be amended to restrict travel to the continental United States.

                                                                                  Respectfully submitted,

                                                                                  GOTTLIEB & JANEY LLP
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    cc: All counsel of record (via ECF)




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